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(hes 12/04)
UNITED STATES DISTRICT COURT
for
Western District Of Texas
U.S.A. vs. Mark Hodge Docket No.
[0542 7:22CRO00121J-[002]
AMENDED
Petition for Action on Conditions of Pretrial Release

COMES NOW Krystal Matta , pretrial services/probation officer, presenting an

official report upon the conduct of defendant Mark Hodge

 

who was placed under pretrial release supervision by the Honorable Ronald C Griffin j

 

sitting in the court at Western District of Texas - Midland/Odessa Division onthe 6th — date of May , 2022

 

under the following conditions:

 

7(m) Not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S.C 802, unless
prescribed by a licensed medical practitioner.

 

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:

7(m) The defendant submitted to a random urinalysis on September 14, 2022, which returned positive for cannabinoids.
Lab confirmation for sample obtained September 14, 2022 was received on October 5, 2022.

The defendant submitted to a random urinalysis on September 27, 2022, which returned positive for amphetamines.
Lab confirmation for sample obtained September 27, 2022 is pending.

 

 

 

 

PRAYING THAT THE COURT WILL ORDER the issuance of an arrest warrant and a show cause hearing be held to
determine why the defendant's bond should not be revoked.

[ declare under penalty of perjury that the foregoing
is true and correct.

Executed on 10/11/2022

 

ORDER OF COURT
Considered and ordered this 11th day of SL 4Y\. 4M 4 f
October , 2022 and ordered filed

 

3 U.S. Pretrial Services/Probation Officer
and made a part of the records in the above case.

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ass tricerotnbudgelMagistrate Judge
